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                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF VIRGINIA
                                            Alexandria Division


          LEAGUE OF UNITED LATIN AMERICAN
          CITIZENS - RICHMOND REGION
          COUNCIL 4614, ELIUD BONILLA,
          LUCIANIA FREEMAN, and ABBY JO
          GEARHART,

                                        Plaintiffs,

                           v.                                    Civil Action No. 1:18-cv-00423 (LO/IDD)
          PUBLIC INTEREST LEGAL FOUNDATION
          and J. CHRISTIAN ADAMS,

                                       Defendants.


                                       DECLARATION OF ELI L. EVANS

                   Eli L. Evans, pursuant to 28 U.S.C. § 1746, states as follows:

                   I am an associate in the law firm of Foley & Lardner LLP, counsel for Defendants, the

        Public Interest Legal Foundation (“PILF”) and J. Christian Adams (“Mr. Adams”). I am a member

        of the Virginia State Bar and admitted to practice in this Court. I submit this declaration to provide

        the Court with the evidentiary support for Defendants’ Motion for Summary Judgment. For the

        convenience of the Court, the documents, deposition testimony, and other evidence referenced

        herein and attached hereto as exhibits are organized to correspond with the Statement of

        Undisputed Material Facts (“SUMF”) contained in the Memorandum in Support of Defendants’

        Motion for Summary Judgment.

                   1.     “Because only U.S. citizens are eligible to register to vote and vote, Virginia

        election officials identify and may ultimately cancel the voter registration of anyone who self-

        reports as a non-citizen on Virginia Department of Motor Vehicle (‘DMV’) forms. The


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        Virginia Department of Elections (‘ELECT’) and the registrar of each locality maintain,

        through the Voter Registration and Information System (‘VERIS’), a list of individuals

        whose registrations have been cancelled. Pursuant to the National Voter Registration Act,

        52 U.S.C. §§ 20501-11 (‘NVRA’), ELECT permits citizens to inspect and copy such records.”

        (SUMF ¶ 1).

                          a.      Exhibit 1 is a true and correct copy of Chapter 8 of the Virginia Department

                   of Elections Handbook (“DOE Handbook”). Chapter 8 of the DOE Handbook, entitled

                   “List Maintenance,” sets forth the procedures for registrars to comply with NVRA and

                   Virginia Code §§ 24.2-410.1(B) and 24.2-427(B)(ii).1 Chapter 8 provides that (i) “each

                   month the Department of Motor Vehicle is required to furnish to Department of Elections

                   a complete list of all persons who have indicated that they are not a United States citizen

                   to DMV”; (ii) upon receiving notice from the DMV, the Department of Elections must

                   transmit that information to the appropriate General Registrar; (iii) the General Registrar

                   then must “mail a notice of cancellation to each registered voter identified by the DMV as

                   a non-citizen;” (iv) the voter is then given 14 days to return a signed statement affirming

                   citizenship; and (v) the voter’s registration will be automatically cancelled if he or she

                   does not return the affirmation of citizenship within 21 days. (Cortés Dep. Ex 5, p. 12).

                          b.      Exhibit 2 is a true and correct copy of the deposition transcript of

                   Christopher Piper in his capacity as a Fed. R. Civ. P. 30(b)(6) representative for the


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          Virginia Code § 24.2-410.1(B) provides that “[t]he Department of Motor Vehicles shall furnish
        monthly to the Department of Elections a complete list of all persons who have indicated a
        noncitizen status to the Department of Motor Vehicles . . . . The Department of Elections shall
        transmit the information from the list to the appropriate general registrars.” Virginia Code § 24.2-
        427(B)(ii) provides that the “general registrar shall cancel the [voting] registration of . . . all
        persons known by him not be a United States citizens by reason of reports from the Department of
        Motor Vehicles . . . .”


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                   Virginia Department of Elections (“VA DOE 30(b)(6) (Piper) Dep.”). Mr. Piper testified

                   that once the Virginia Department of Elections (“ELECT”) receives notification from the

                   DMV that a registered voter has declared non-citizenship, the local General Registrar will

                   submit a notice of cancellation to that voter. If the voter does not affirm citizenship within

                   21 days of receiving that notice, the voter’s registration will be automatically cancelled.

                   (VA DOE 30(b)(6) (Piper) Dep. 210:16-211:10).

                          c.      Exhibit 3 is a true and correct copy of a publication available online from

                   the Virginia DMV website at www.dmv.virginia.gov/webdoc/pdf/accept_doc_status.pdf.

                   Entitled “Acceptable Documents by Status,” it cites Virginia Code § 46.2-328.1 to identify

                   the documents required to obtain a Virginia driver’s license by citizens of the United States

                   and various categories of non-citizens, namely: (i) legal permanent residents of the United

                   States; (ii) conditional resident aliens of the United States; (iii) holders of a valid

                   nonimmigrant visa status; (iv) individuals with a pending or approved application for

                   asylum in the United States; (v) refugees; (vi) individuals with pending or approved

                   application for temporary protected status in the United States; (vii) individuals with

                   approved deferred action status; and (viii) individuals with a pending application for

                   adjustment of status to legal permanent resident status or conditional resident status.

                   (Cortés Dep. Ex. 12).

                          d.      Exhibit 4 is a true and correct copy of the deposition transcript of Edgardo

                   Cortés (“Cortés Dep.”), who served as Virginia’s Commissioner of Elections from July

                   2014 to January 2017. (Cortés Dep. 29:25-30:9). Mr. Cortés testified that non-citizens of

                   the United States can obtain a Virginia driver’s license upon the presentation of the

                   documents required by Virginia Code § 46.2-328.1 and that the Virginia DMV maintains



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                   records of the types of documents by which non-citizens in Virginia have obtained driver’s

                   licenses. (Cortés Dep. 137:5-142:2).

                          e.      Exhibit 5 is a true and correct copy of the deposition transcript of Justin M.

                   Levitt, a law professor at Loyola University in Los Angeles (“Levitt Dep.”). Professor

                   Levitt sent hundreds of emails to Virginia voters for the purpose of identifying potential

                   plaintiffs in this litigation and later consulted with the law firms that filed this litigation.

                   Professor Levitt testified that non-citizens who had previously registered to vote sometimes

                   cancelled their voter registrations because their prior voter registration may make it more

                   difficult to obtain permanent residency or citizenship. (Levitt Dep. 72:9-73:11, Ex. 19).

                          f.      Exhibit 6 is a true and correct copy of the deposition transcript of Matthew

                   Sears in his capacity as a Fed. R. Civ. P. 30(b)(6) representative for the Virginia

                   Department of Elections (“VA DOE 30(b)(6) (Sears) Dep.”). Mr. Sears testified that the

                   names of voters who indicate they are non-citizens on DMV forms are loaded in VERIS.

                   (VA DOE 30(b)(6) (Sears) Dep. 72:5-75:11).

                          g.      At his deposition, Mr. Cortés testified that the Virginia Department of

                   Elections maintains in the ordinary course a VERIS report listing voters whose

                   registrations were cancelled for being declared non-citizens. (Cortés Dep. 65:16-66:10)

                   (Exhibit 4).

                          h.      At his deposition, Commissioner Cortés’ successor, Christopher Piper,

                   testified that the Department of Elections uses such VERIS reports to prepare an annual

                   report to the Virginia General Assembly about the number of voters whose registrations

                   were cancelled due to non-citizenship. (VA DOE 30(b)(6) Piper Dep. 184:13–186:7,

                   211:11–212:2) (Exhibit 2).



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                          i.      Exhibit 7 is a Fed. R. Evid. 1006 Summary of Virginia Department of

                   Elections Annual List Maintenance Reports Showing Non-Citizen Voter Cancellations.

                          j.      Chapter 8 of the DOE Handbook describes, in Section 8.2.2.2, under the

                   heading “Voter Cancellation Program,” the procedures for cancelling voter registrations in

                   accordance with the Virginia Code § 24.2-428 and the NVRA.2 These procedures apply

                   to registrations that were “processed from data received from DMV.” Chapter 8 also states,

                   in Section 8.2.2.3 under the heading “NVRA-Mandated Records Access, as follows:

                          “Lists of voters whose registration have been cancelled under
                          this program are available for public inspection and copying.
                          The general registrar must post the list at the courthouse, or have it
                          published in a newspaper of general circulation, in the general
                          registrar’s community. The general registrar must provide a
                          certified copy of the list to the chairman of each political party in
                          the locality. An electoral board may approve accepting a registrar’s
                          electronic read email receipt as equivalent to a certificate of mailing
                          to the party chair required by Virginia law.”

                   (Cortés Dep. Ex. 5 at 5) (emphasis in original) (citation omitted) (Exhibit 1).

                          k.      Exhibit 8 is a true and correct copy of Chapter 9 of the DOE Handbook,

                   entitled “Records Access and Retention.” In Section 9.3.1, under the heading “Voter

                   Registration Applications,” Chapter 9 states: “Individuals or organizations may request to

                   see voter registration applications and as general registrar, you should supply these

                   documents in compliance with NVRA.” In Section 9.3.2, under the heading “Information

                   to Provide for an NVRA Request,” Chapter 9 states: “NVRA makes available for public


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          The NVRA requires states to “maintain for at least 2 years” and “make available for public
        inspection and, where available, photocopying at a reasonable cost, all records concerning the
        implementation of programs and activities conducted for the purpose of ensuring the accuracy and
        currency of official lists of registered voters,” and that such records “shall include lists of the names
        and addresses of all persons to whom notice described in subsection (d)(2) are sent, and whether
        or not each such person has responded to the notice as of the date that inspection of the records is
        made.” 52 U.S.C. § 20507 (i)(1), (2).


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                   inspection and photocopying ‘all records concerning the implementation of programs and

                   activities conducted for the purpose of ensuring the accuracy and currency of the

                   registration records pursuant §§24.2-427, 24.2-428, and 24.2-428.1.’ (emphasis added).”

                   It also cites Virginia Code of § 24.2-444(c) to provide registrars with guidance as to “what

                   information must be redacted when providing these records,” including “[a]ll of an

                   individual social security number” and “[t]he day and month of birth of an individual.”

                   (Cortés Dep., Ex. 6 at 12).

                   2.     “PILF is a public interest law firm that advocates for election integrity. Mr.

        Adams is PILF’s President and General Counsel.” (SUMF ¶ 2).

                          a.        Exhibit 9 is a true and correct copy of a Form 990 that PILF filed with the

                   IRS in 2016 stating that PILF “[s]pecializes in civil litigation in high-profile matters

                   affecting the political processes of the nation, with particular emphasis given to aiding the

                   cause of election integrity and litigating against lawlessness in American elections.” (PILF

                   30(b)(6) (Adams) Dep. Ex. 3 at PILF-ADAMS-0021107).

                          b.        Exhibit 10 is a true and correct copy of a screenshot of the website, Reports

                   Archives     –     Public     Interest   Legal      Foundation   Archives,     available    at

                   https://publicinterestlegal.org/category/reports.

                          c.        Exhibit 11 is a true and correct copy of the deposition transcript of Noel

                   Johnson (“Johnson Dep.”). Mr. Johnson, who is litigation counsel to PILF, testified that

                   PILF is a non-partisan, 501(c)(3) corporation “that focuses on election integrity and

                   preservation of the constitutional framework under which states and the federal

                   government share control of elections.” (Johnson Dep. 24:21-26:5).




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                          d.      Exhibit 12 is a true and correct copy of the deposition transcript of J.

                   Christian Adams in his capacity as the Fed. R. Civ. P. 30(b)(6) representative for PILF

                   (“PILF 30(b)(6) (Adams) Dep.”).

                          e.      Exhibit 13 is a true and correct copy of the deposition transcript of J.

                   Christian Adams, in his individual capacity (“Adams Dep.”).

                          f.      At both depositions, Mr. Adams testified regarding his role at PILF and his

                   past work in the Voting Section of the United States Department of Justice. (PILF 30(b)(6)

                   (Adams) Dep. 14:14-18; 19:8-16; Adams Dep. 191:15-19).

                   3.     “In 2016, PILF and the Virginia Voters Alliance (‘VVA’) submitted a series of

        NVRA records requests to local registrars.              Some registrars refused, and Virginia

        Commissioner of Elections Edgardo Cortés directed local registrars not to provide VERIS

        reports, contending that doing so would violate the Driver Privacy Protection Act, 18 U.S.C.

        §§ 2721-2725 (‘DPPA’). Other registrars, including Prince William County complied.”

        (SUMF ¶ 3).

                          a.      Exhibit 14 is a true and correct copy of a January 25, 2016 NVRA records

                   request that VVA sent to the City of Alexandria General Registrar. (VVA 30(b)(6)

                   (George) Dep. Ex. 5).

                          b.      Exhibit 15 is a true and correct copy of the Complaint that PILF filed on

                   behalf of VVA and David Norcross in the Eastern District of Virginia on April 7, 2016.

                          c.      At his deposition, Mr. Adams testified that, following a court hearing at

                   which counsel for the Alexandria registrar stated that the requested records would be

                   produced, the litigation was dismissed without prejudice. Thereafter, the Alexandria

                   registrar permitted PILF and VVA to inspect the requested records on July 25, 2016 and



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                   promised to make copies of certain documents identified by PILF and VVA. (PILF

                   30(b)(6) (Adams) Dep. 43:16-45:17; 49:2-55:7) (Exhibit 12).

                          d.      Exhibit 16 is a true and correct copy of August 8, 2016 correspondence

                   from PILF to General Registrars in various jurisdictions in Virginia seeking public records

                   pursuant to the NVRA.

                          e.      Exhibit 17 is a true and correct copy of an August 10, 2016 email from

                   William W. Tunner, counsel to the City of Alexandria General Registrar, following up on

                   the July 25, 2016 inspection by PILF and VVA and concluding with the statement: I look

                   forward to working with you on these issues.” (George Dep. Ex. 7 at PILF-ADAMS-

                   0000640).

                          f.      Exhibit 18 is a true and correct copy of a VERIS report provided to PILF

                   on August 16, 2016 by the General Registrar of Roanoke County entitled

                   “COMMONWEALTH OF VIRGINIA – DEPARTMENT OF ELECTIONS –

                   “Cancellation – Declared Non-Citizen” with a start date of 01/01/2011 and an end date of

                   08/16/2016. (Albertson Dep. Ex. 24 at SASMF 0068-70).

                          g.      Exhibit 19 is a true and correct copy of an August 18, 2016 email to PILF

                   from the General Registrar of Bedford County (PILF-ADAMS-0018106-7) enclosing a

                   VERIS report entitled “COMMONWEALTH OF VIRGINIA – DEPARTMENT OF

                   ELECTIONS – “Cancellation – Declared Non-Citizen” with a start date of 01/01/2011 and

                   an end date of 08/16/2016. (PILF-ADAMS-0018106-8).

                          h.      Exhibit 20 is a true and correct copy of a September 13, 2016 email from

                   the General Registrar of Fairfax City providing “redacted copies of voter registrations for




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                   people who were cancelled for non-citizen reason from 2011 to August 15, 2016” (PILF-

                   ADAMS-0016926) and attaching the registration data (PILF-ADAMS-0016927).

                          i.      Exhibit 21 is a true and correct copy of an August 19, 2016 email from

                   Commissioner Cortés to the General Registrars of Virginia explaining that ELECT is not

                   providing a statewide VERIS report to PILF and stated: “While there is a VERIS report

                   that provides a list of registrants cancelled due to non-citizenship for your administrative

                   use, you may not provide the information regarding reason for cancellation for non-

                   citizen status as this information is received from DMV and is covered under the federal

                   Driver’s Privacy Protect Act (DPPA).” (Wheeler Dep., Ex. 9) (emphasis in original).

                          j.      Exhibit 22 is a true and correct copy of an email reflecting an August, 22,

                   2016 telephone call to PILF from the General Registrar of Bedford County requesting that

                   PILF delete the VERIS report that had been provided on August 18, 2016 (PILF-ADAMS-

                   0017021-22).

                          k.      Exhibit 23 is a true and correct copy of an August 23, 2016 email to PILF

                   from the General Registrar of Roanoke County stating: “On August 16th I mailed a

                   response to you with information you requested. I have since been advised by the

                   Commissioner of the Department of Elections that the cancellation information I sent to

                   you should not have been released because it is protected information under the federal

                   Driver’s Privacy Protection Act.     Would you please be so kind as to destroy that

                   information?” (PILF-ADAMS-0017023).

                          l.      Following the August 19, 2016 directive from Commissioner Cortés,

                   counsel for the Alexandria registrar initially refused to produce the previously promised




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                   records based on “guidance” from the Virginia Department of Elections but ultimately

                   turned them over. (1st Rep. at 6) (Exhibit 29).

                          m.      Exhibit 24 is a true and correct copy of a September 13, 2016 email from

                   Mr. Tunner to PILF stating: “The [City of Alexandria] General Registrar would be pleased

                   to email you a list of cancellations for registrants who were removed because they were

                   determined to be incompetent or not a US citizen.” (VVA 30(b)(6) (George) Dep. Ex. 8 at

                   PILF-ADAMS-0003266). The email was accompanied by a VERIS report for the City of

                   Alexandria entitled “COMMONWEALTH OF VIRGINIA – DEPARTMENT OF

                   ELECTIONS – “Cancellation – Declared Non-Citizen” with a start date of 01/01/2012 and

                   an end date of 09/13/2016. (VVA 30(b)(6) (George) Dep. Ex. 8 at PILF-ADAMS-

                   0003268-74).

                          n.      Exhibit 25 is a true and correct copy of emails sent September 13 and 14,

                   2016 by the General Registrar of Fauquier County asking Commissioner Cortés the status

                   of the Virginia Department of Elections’ response to PILF’s August 8, 2016 NVRA records

                   request and stating: “It is my understanding that if the Department has not made contact

                   with this organization, Virginia jurisdictions have been placed in legal jeopardy of

                   noncompliance with this information request because we have been waiting for additional

                   communication from your office.” (Wheeler Dep. Ex. 29).

                   4.     “The Prince William County registrar provided a VERIS report listing

        persons whose voter registrations had been cancelled as ‘declared non-citizens’ (the ‘Prince

        William VERIS Report’) and their voter registration applications (‘Prince William

        Records’).” (SUMF ¶ 4).




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                          a.      Exhibit 26 is a true and correct copy of August 16, 2016 correspondence

                   sent by Michele L. White, the General Registrar of Prince William County, in which she

                   “provide[d] a PDF of Prince William County Cancellation – Declared Non-Citizen list

                   dating back from 01/01/2011 to the present date of 08/16/2016.” (Johnson Dep. Ex. 2 at

                   PILF-ADAMS-0009065-135). Ms. White’s August 16, 2016 correspondence stated that

                   she was “enclosing any documents we have pertaining to citizenship requirements which

                   were referred to the County” and that “[r]ecent legislation ensures that Registrars in the

                   Commonwealth are being provided the proper information in order to maintain accurate

                   and current lists of registered voters.” (Johnson Dep. Ex. 2 at PILF-ADAMS-0009065-

                   69).

                          b.      Ms. White’s August 16, 2016 correspondence enclosed a 29-page document

                   entitled “COMMONWEALTH OF VIRGINIA – DEPARTMENT OF ELECTIONS –

                   Cancellation – Declared Non-Citizen – 153 – PRINCE WILLIAM COUNTY” (the “Prince

                   William VERIS Report”). (Johnson Dep. Ex. 2 at PILF-ADAMS 0009070-98). (Exhibit

                   26).

                          c.      Ms. White’s August 16, 2016 correspondence also enclosed (i)

                   documentation regarding voter registrations for Mahruden Zaidi and Syod Zaidi, who had

                   previously registered to vote and voted in Prince William County even though “neither one

                   of them was a citizen at the time of registration or election.” (Johnson Dep. Ex. 2 at PILF-

                   ADAMS 0009099-100); (ii) a publication entitled The Prince William Report – Prince

                   William County Demographic and Economic Newsletter Second Quarter 2016 (Johnson

                   Dep. Ex. 2 at PILF-ADAMS-0009101-10); and (iii) Commonwealth of Virginia




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                   Department of Elections Statistics – Locality Statistics as of 08/16/2016 (Johnson Dep. Ex.

                   2 at PILF-Adams-0009111-35). (Exhibit 26).

                   5.     “Plaintiff Luciania Freeman’s name and address appear on the Prince

        William VERIS Report with the notation ‘Declared Non-Citizen’ in the column ‘Cancel

        Type’ because she stated under oath on a DMV form that she was not a U.S. citizen and

        failed to respond to a Notice of Intent to Cancel Registration. Her application is included in

        the Prince William Records and contains the handwritten notation ‘cancelled – declared

        non-citizen.’” (SUMF ¶ 5).

                          a.       The Prince William VERIS Report lists the name of Plaintiff Luciana

                   Freeman on page 26 of 29 of the report. (Johnson Dep. Ex. 2 at PILF-ADAMS-0009095)

                   (Exhibit 26).

                          b.       Exhibit 27 is a true and correct copy of a Virginia DMV Address Change

                   Request form filled out by Ms. Freeman on April 2, 2015 on which she declared, under

                   penalty of perjury, that she is not a citizen of the United States. (Freeman Dep. Ex. 1).

                          c.       Exhibit 28 is a true and correct copy of voter registration cancellation

                   documents for Ms. Freeman that PILF obtained from the General Registrar of Prince

                   William County pursuant to a records request under the NVRA. These documents included

                   (i) a list of “Declared Non-Citizen Matches” that contains Ms. Freeman’s name; (ii) a

                   “Voter Overview” printout that classifies Ms. Freeman as “Non-Citizen Cancellation;” and

                   (iii) a “Voter Overview – Correspondence” printout, noting that Ms. Freeman failed to

                   return an affirmation of citizenship after answering “no” to the citizenship question on her

                   DMV form. (Freeman Dep. Ex. 25).




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                   6.     “On September 30, 2016, PILF and VVA published Alien Invasion in Virginia:

        The Discovery and Cover-Up of Non-Citizen Registration and Voting (‘AI-1’).” (SUMF ¶ 6).

                          a.      Exhibit 29 is a true and correct copy of “Alien Invasion in Virginia: The

                   Discovery and Cover-Up of Non-Citizen Registration and Voting,” dated September 30,

                   2016 (PILF-ADAMS-0004986-5128).

                   7.     “The exhibits to AI-1 included the Prince William VERIS Report and Records.

        AI-1 stated that these documents identified ‘non-citizens who had registered to vote in the

        county, but were then removed after they were determined to not be U.S. citizens.’ Ms.

        Freeman is identified in these two exhibits but not in the body of AI-1. AI-1 does not refer

        to the other plaintiffs, either in the report’s body or exhibits.” (SUMF ¶ 7).

                          a.      See 1st Rep. at Ex. 1, p. 26. (Exhibit 29).

                   8.     “AI-1 states that ‘[t]he offenses a fraudulent voter might commit when he

        registers and votes are numerous’ and cites state and federal criminal statutes that prohibit

        non-citizens from registering to vote and voting.” (SUMF ¶ 8).

                          a.      The AI-1’s Summary of Findings also cited Virginia Code § 24.2-1004, 18

                   U.S.C. § 611, 911, and 1015, and 52 U.S. C. § 20511 in support of the following statement:

                   “The offenses a fraudulent voter might commit when he registers and votes are numerous.”

                   (1st Rep. at 3) (Exhibit 29).

                          b.      See 1st Rep. at 8. (Exhibit 29).

                   9.     “AI-1 opines that (a) many Virginia election officials were ‘obstructing access

        to public records’ by not complying with PILF’s records requests; (b) based on the records

        that were produced, the registrants removed from the voter rolls as ‘non-citizens’ had

        ‘committed felonies,’ ‘likely committed a felony,’ or were ‘potential felons’ by having voted

        or registered to vote, and (c) a system that allows people to register and to vote simply by

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        stating that they are citizens, without producing any proof, is deeply flawed and must be

        reformed.” (SUMF ¶ 9).

                          a.      AI-1’s Summary of Findings stated that “obstructionist tactics” by Virginia

                   election officials “have led to PILF and VVA obtaining data from only a handful of

                   Virginia counties so far,” that “[i]n our small sample of just eight Virginia counties who

                   responded to our public inspection requests, we found 1,046 aliens who registered to vote

                   illegally,” and that “when the voting history of this small sample of alien registrants is

                   examined, nearly 200 verified ballots were cast before they were removed from the rolls.

                   Each one of them is likely a felony.” (1st Rep. at 2) (Exhibit 29).

                          b.      The AI-1’s Summary of Findings stated: “When an alien completes a voter

                   registration form, they commit a felony.” (1st Rep. at 3) (Exhibit 29).

                   10.    “Following AI-1’s publication, PILF continued to seek records of non-citizen

        voter cancellations from Virginia election officials, including a statewide VERIS report

        listing individuals whose registrations had been cancelled based on citizenship issues.”

        (SUMF ¶ 10).

                          a.      An October 2016 email exchange among J. Christian Adams and Noel

                   Johnson at PILF and Steven Albertson at Skadden Arps that discussed obtaining declared

                   non-citizen VERIS reports from other Virginia jurisdictions. The attachments to the email

                   consisted of declared non-citizen VERIS reports that PILF had already received from the

                   following Virginia counties:     Bedford, Hanover, Loudoun, Roanoke, and Stafford.

                   (Albertson Dep. Ex. 24) (Exhibit 18).

                          b.      Exhibit 30 is a true and correct copy of a complaint that PILF filed in the

                   U.S. District Court for the Eastern District of Virginia on October 31, 2016 against Larry



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                   C. Haake, in his official capacity as General Registrar for Chesterfield County. (Albertson

                   Dep. Ex. 27). PILF sought to compel Mr. Haake to comply with Section 8 of the NVRA

                   by permitting PILF to inspect and duplicate voter records pursuant to 52 U.S.C. § 20507(i).

                          c.      Exhibit 31 is a true and correct copy of a similar complaint that PILF filed

                   in the Eastern District of Virginia on October 31, 2016 against Susan Reed in her official

                   capacity as General Registrar for the City of Manassas.

                          d.        A November 21, 2016 email to all General Registrars in Virginia from

                   Susan Jett, the General Registrar of Lancaster County, seeking guidance from

                   Commissioner Cortés about how to respond to a renewed request from PILF for VERIS

                   reports. A response from the General Registrar of Chesterfield County, Larry Haake, stated

                   that “PILF currently has federal lawsuits against Chesterfield County and the City of

                   Manassas” and that “[i]t would be wise to review the email from Commissioner Cortés

                   sent on August 19, 2016, regarding their request.” (Wheeler Dep. Ex. 9 at ELECT-4466-

                   67) (Exhibit 21).

                          e.      Exhibit 32 is a true and correct copy of a November 22, 2016 email to PILF

                   from Walt Latham, General Registrar of York County, stating that “I have attached to this

                   email a batch of letters sent to voters who indicated that they were not citizens” and “I have

                   been advised by the state Department of Elections that the report that Ms. Powell requested

                   last Thursday—the one that provides a listing of voters cancelled because of a declaration

                   of noncitizenship at the DMV—is not open for public inspection or review because of a

                   provision in federal law.” (Johnson Dep. Ex. 13). The attachments included a Notice of

                   Intent to Cancel sent to Jeanne Anne Rosen on September 23, 2014 (Johnson Dep. Ex. 13

                   at PILF-ADAMS §§ 13264) and a Notice of Intent to Cancel sent to Abby Sharpe Focht



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                   (Plaintiff Abby Jo Gearhart) on April 13, 2012 (Johnson Dep. Ex. 13 at PILF-ADAMS-

                   13324-25).

                          f.     Exhibit 33 is a true and correct copy of a November 22, 2016 email to PILF

                   attaching “the second batch of applications” (Johnson Dep. Ex. 14). The attachments

                   included a March 24, 2012 voter registration application from Abby Sharpe Focht (Plaintiff

                   Abby Jo Gearhart) on which she had checked the box “yes” in response to the question

                   “Are you a citizen of the United States of America?” (Johnson Dep. Ex. 14 at PILF-

                   ADAMS-13185) followed by a form indicating that she had been removed from the voter

                   rolls before re-registering under the name Gearhart (Johnson Dep. Ex. 14 at PILF-

                   ADAMS-13186).

                          g.     Exhibit 34 is a true and correct copy of another November 22, 2016 email

                   from Walt Latham to PILF stating that “here are the responses from voters to our letters.”

                   (Johnson Dep. Ex. 15). The attachments included an Affirmation of Citizenship signed by

                   Abby Jo Focht (Johnson Dep. Ex. 15 at PILF-ADAMS-0013121) and an Affirmation of

                   Citizenship signed by Jeanne Anne Rosen accompanied by correspondence dated

                   September 28, 2014 (Johnson Dep. Ex. 15 at PILF-ADAMS-13140-47).

                          h.     Exhibit 35 is a true and correct copy of a January 31, 2017 and February 1,

                   2017 email exchange among General Registrars in which the General Registrar of

                   Albemarle County stated:


                          “[T]he federal district court in Alexandria has denied a motion to
                          dismiss an action seeking these documents from another registrar,
                          upon a finding that the federal Driver Privacy Protection Act does
                          not apply. (That order did not, however, order the production of the
                          documents requested but simply denied the 12(b)(6).)

                          “On January 31, 2017 (yesterday) I received a renewed request for
                          production of documents from the same group [PILF], threatening

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                          litigation in the event of noncompliance. (see attached) This request
                          to produce, unlike the August 8 request, is limited to a request that
                          we produce the ‘Noncitizen Report’ that can be generated through
                          the Veris statewide voter registration database.”

                   The General Registrar of Radford responded: “Please note that the Order of the Federal

                   Court DOES NOT specifically state that the records must be released. It disallowed the

                   cite of DPPA as the reason.” (Cortés Dep. Ex. 36).

                          i.      Exhibit 36 is a true and correct copy of a January 31, 2017 email from

                   Commissioner Cortés to Virginia General Registrars stating:          “The Department of

                   Elections is aware of the request made by the Public Interest Legal Foundation (PILF)

                   related to the non-citizen cancellation report produced in VERIS. Because the requests

                   sent to localities contains threatened litigation, you should consult with your local legal

                   counsel regarding how to properly respond to this request as ELECT is unable to provide

                   legal advice to localities.” (VA DOE 30(b)(6) (Schneider) Dep. Ex. 7).

                          j.      Exhibit 35 is a true and correct copy of a February 1, 2017 email exchange

                   among General Registrars from various Virginia jurisdictions discussing PILF’s requests

                   for voter records pursuant to the NVRA. (Cortés Dep. Ex. 36).

                          k.      Exhibit 37 is a true and correct copy of a February 2, 2017 email from Noel

                   Johnson to Mr. Adams describing PILF’s efforts to obtain voter records from York County,

                   Virginia. (George Dep. Ex. 19). According to Mr. Johnson’s February 2, 2017 email:

                          l.      Exhibit 38 is a true and correct copy of a February 3, 2017 email from Noel

                   Johnson to Reagan George listing jurisdictions from which PILF was still seeking voting

                   records. (Wheeler Dep. Ex. 6).




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                          m.      An August 19, 2016 email from Mr. Cortés to the General Registrars of

                   Virginia described PILF’s efforts to obtain a statewide VERIS report. (Wheeler Dep. Ex.

                   9). (Exhibit 21).

                          n.      Exhibit 39 is a true and correct copy of a September 30, 2016 email from

                   Mr. Johnson to Mr. Cortés expressing dissatisfaction with a report that ELECT had

                   provided in lieu of the statewide VERIS report: “This report, however, does not satisfy

                   our requests to the county registrars. We requested lists of registrants who were removed

                   from the voter rolls because they were determined to be non-citizens. Your report indicates

                   only that the listed individuals were mailed citizenship confirmation notices. It does not

                   indicate that they were removed for citizenship reasons.” Mr. Johnson reiterated PILF’s

                   request for a statewide VERIS report containing the same type of information that was

                   contained in the Prince William VERIS Report. (Johnson Dep. Ex. 40).

                          o.      Exhibit 40 is a true and correct copy of a March 7, 2017 email from the

                   General Registrar of Fairfax County addressing the fact that, at some point in 2016, before

                   providing PILF with the VERIS report that PILF had requested, ELECT stopped loading

                   into the Virginia registrars’ ‘hopper’ the monthly reports from the Virginia DMV showing

                   which voters had declared themselves to be non-citizens. As a result, no Virginia voters

                   had their registrations cancelled for non-citizenship for a period of approximately six

                   months. . (VA VOE 30(b)(6) (Sears) Dep. Ex. 13).

                          p.      Exhibit 41 is a true and correct copy of a May 25, 2017 email from the

                   General Registrar of Albemarle County to Commissioner Cortés expressing concern about

                   the fact that, “pursuant to your email of last Friday, May 19, 2017, the DMV declarations

                   of non-citizenship that triggered the notice that I have just received from the Department



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                   of Elections were made by the voters in question between the months of November, 2016

                   through April, 2017, but are just now arriving in my office – just three weeks prior to an

                   election.” (ELECT040560-62).

                             q.   At his deposition, former Commissioner Cortés testified that the

                   Department of Elections had not provided registrars with information from the Virginia

                   DMV about individuals who had self-identified as non-citizens for a period of several

                   months before the June 2017 primary due to an alleged technical problem with the VERIS

                   system. (Cortés Dep. 47:18-53:9) (Exhibit 4)

                             r.   At his deposition, Matthew Searsin his capacity as a Fed. R. Civ. P.

                   30(b)(6) representative for the Virginia Department of Electionstestified that he was

                   directed to hold off loading non-citizen data received from Virginia DMV while

                   discussions about possibly changing the process were underway. (VA DOE 30(b)(6)

                   (Sears) Dep. 73:3-78:1) (Exhibit 6).

                             s.   Exhibit 42 is a true and correct copy of the deposition transcript of Clara

                   Belle Wheeler, a former member of the Virginia Department of Elections. Ms. Wheeler

                   testified that she had no way of verifying the Virginia Department of Elections’ claim that

                   an error in VERIS had prevented it from sending non-citizen data earlier but that she found

                   it “odd” that “the names that the DMV had identified as noncitizens during the period July

                   through October 2016 were not sent to the local registrars until March 2017.” Ms. Wheeler

                   also testified that the State Board of Elections requested but never received the names, by

                   localities, that had not been sent to the registrars until March 2017. (Wheeler Dep. 283:14-

                   287:2).




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                          t.      The Virginia Department of Elections’ Annual List Maintenance Reports

                   omit the two-month period (July and August 2017) when many of these voters were sent

                   notice of intent to cancel their registrations. See Fed. R. Evid. 1006 Summary of Virginia

                   Department of Elections Annual List Maintenance Reports Showing Non-Citizen Voter

                   Cancellations. (Exhibit 7).



                   11.    “After a ruling by this Court that producing a VERIS report is not prohibited

        by the DPPA, Commissioner Cortés provided PILF with a statewide report (the ‘Virginia

        VERIS Report’), describing it as ‘the VERIS non-citizen cancellation report.’ The report

        was broken down by locality and listed the names and addresses of 5,556 individuals whose

        registrations had been cancelled from January 1, 2011 through March 20, 2016.” (SUMF ¶

        11).

                          a.      Exhibit 43 is a true and correct copy of a January 27, 2017 Order issued by

                   the Honorable Claude M. Hilton, United States District Court Judge for the Eastern District

                   of Virginia, in the case captioned Public Interest Legal Foundation, Inc. v. Susan Reed,

                   Case No. 1:16-cv-01375. In that Order, Judge Hilton held that the “DPPA does not apply

                   to the disclosure of voter information requested by [PILF].”

                          b.      At his deposition, Mr. Cortés testified that he provided PILF with a

                   statewide VERIS report following Judge Hilton’s ruling. (Cortés Dep. 289:13-290:5)

                   (Exhibit 4).

                          c.      Exhibit 44 is a true and correct copy of a March 28, 2017 email from Mr.

                   Cortés to PILF stating: “Attached is a PDF of the VERIS non-citizen cancellation report




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                   for the period of January 1, 2011 to March 20, 2017.” (VA DOE 30(b)(6) (Schneider) Dep.

                   Ex. 8).

                             d.    Exhibit 45 is a true and correct copy of the statewide VERIS report that Mr.

                   Cortés provided to PILF on March 28, 2017 (the “Virginia VERIS Report”) (VADOE-

                   FOIA-001872-2357).

                   12.       “Before Commissioner Cortés sent PILF the Virginia VERIS Report, PILF

        had received conflicting emails from some local registrars about whether the records that

        PILF requested might include voters who, following a declaration of non-citizenship, later

        affirmed citizenship and re-registered to vote. Accordingly, PILF sought clarification from

        Commissioner Cortés that the Virginia VERIS Report did not contain any ‘false positives.’”

        (SUMF ¶ 12).

                             a.    On August 16, 2016, the General Registrar of Prince William County had

                   provided PILF with the Prince William VERIS Report with a transmittal explaining that

                   she is “enclosing any documents we have pertaining to citizenship requirements which

                   were referred to the County” and stating that “[r]ecent legislation ensures that Registrars

                   in the Commonwealth are being provided the proper information in order to maintain

                   accurate and current lists of registered voters.” (Exhibit 46, PILF-ADAMS-0003316-86).

                             b.    The August 10, 2016 email from William W. Tunner, counsel to the City of

                   Alexandria General Registrar, described the VERIS report sought by PILF as “the list of

                   voters who were cancelled for citizenship based on information from DMV.” (VVA

                   30(b)(6) (George) Dep. Ex. 7 at PILF-ADAMS-0000639) (Exhibit 17).

                             c.    The September 13, 2016 email from Mr. Tunner to PILF described the

                   accompanying VERIS report as stating: “a list of cancellations for registrants who were



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                   removed because they were determined to be incompetent or not a US citizen.” (VVA

                   30(b)(6) (George) Dep. Ex. 8 at PILF-ADAMS-0003266) (Exhibit 24).

                             d.   Exhibit 47 is a true and correct copy of a January 31, 2017 email from Linda

                   Lindberg, Director of Elections for Arlington County, stating that a voter may appear on a

                   VERIS report even after he “subsequently affirmed his citizenship.” (PILF 30(b)(6)

                   (Adams) Dep. Ex. 21).

                             e.   Exhibit 48 is a true and correct copy of a February 1, 2017 email to other

                   Virginia registrars from Larry Haake, the Chesterfield County General Registrar whom

                   PILF had sued in this Court to obtain the NVRA records that PILF had requested. With

                   respect to PILF, Mr. Haake stated: “They are fully aware the particular report they want

                   is misrepresentative of the actual truth, but the truth is clearly not what they want.” (PILF

                   30(b)(6) (Adams) Dep. Ex. 22 at PILF-ADAMS-0009201).

                             f.   Exhibit 49 is a true and correct copy of a February 2, 2017 email to PILF

                   from York County General Registrar Walt Latham referencing a previously-provided

                   county-specific VERIS report and attaching copies of “all new registrations for people (on

                   that list of 26) who were cancelled and then re-registered.” (PILF 30(b)(6) (Adams) Dep.

                   Ex. 7).

                             g.   Exhibit 50 is a true and correct copy of a February 7, 2017 email to PILF

                   from Fauquier County General Registrar Alexander Ables stating that certain voters

                   appearing on the report “have submitted a new voter registration application subsequent to

                   their record being flagged as potential non-citizen. (PILF 30(b)(6) (Adams) Dep. Ex. 19).

                             h.   Exhibit 51 is a true and correct copy of a February 9, 2017 letter addressed

                   to PILF from Kim McKiernan, Director of Elections for Rappahannock County, claiming



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                   that certain individuals on VERIS report may in fact be citizens and that “in the majority

                   of instances, they provide valid photo id/proof of citizenship and their registration is

                   reactivated.” (PILF 30(b)(6) (Adams) Dep. Ex. 20).

                          i.      Exhibit 52 is a true and correct copy of a February 15, 2017 email sent to

                   PILF by Dianna Moorman, General Registrar of James City County, stating with respect

                   to the county-specific VERIS report “that many of these simply were because they failed

                   to check the ‘Are you a US citizen’ box on the voter registration application, not because

                   they are actually a non-citizen, and have since registered with an acceptable completed

                   application.” (PILF 30(b)(6) (Adams) Dep. Ex. 16).

                   13.    “In response, Commissioner Cortés sent an email dated April 4, 2017 (the

        ‘Cortés Email’) stating that ‘[i]f an individual was previously cancelled and then

        subsequently affirmed citizenship and was re-registered, they would no longer appear on

        this report because they would now be on active status.’ Defendants found credible and

        therefore relied upon Commissioner Cortés’ assurance that the Virginia VERIS Report did

        not contain the name of anyone whose voter registration had been reinstated after

        reaffirming U.S. citizenship. At his deposition, Mr. Cortés confirmed that this description

        of the Virginia VERIS Report was accurate.” (SUMF ¶ 13).

                          a.      Exhibit 53 is a true and correct copy of an April 4, 2017 email from Mr.

                   Cortés to PILF explaining that the Virginia VERIS Report “shows individuals that were

                   cancelled due to self-reported noncitizen status and failed to complete an affirmation of

                   citizenship in the allotted timeframe and continue to be in cancelled status.” (Gearhart

                   Dep. Ex. 13). In the email, Mr. Cortés further stated that “[i]f an individual was previously

                   cancelled and then subsequently affirmed citizenship and was re-registered, they would no



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                   longer appear on this report because they would now be on active status.” (Gearhart Dep.

                   Ex. 13).

                          b.     At his deposition, Mr. Cortés testified that he served as Commissioner of

                   ELECT from July 2014 to January 2017. (Cortés Dep. 29:22-30:9). Mr. Cortés also

                   testified that, during his tenure as Commissioner of ELECT, “15 to 20 individuals” worked

                   for him on the “VERIS team.” (Cortés Dep. 126:2-19) (Exhibit 4).

                          c.     At his Rule 30(b)(6) deposition on behalf of PILF, Mr. Adams testified that,

                   based on concerns expressed by certain General Registrars, PILF contacted Mr. Cortés

                   because he was Virginia’s chief election official. (PILF 30(b)(6) (Adams) Dep. 214:12-

                   215:2; 223:1-17) (Exhibit 12).

                          d.     At his deposition, PILF’s litigation counsel, Noel Johnson, testified that Mr.

                   Cortés informed PILF of what it meant for someone to be listed on the Virginia VERIS

                   Report. (Johnson Dep. 256:23-257:10) (Exhibit 11).

                          e.     At the Rule 30(b)(6) deposition of PILF, Mr. Adams testified that PILF

                   relied on Mr. Cortés’ representation that the Virginia VERIS Report would not contain

                   voters who affirmed citizenship and re-registered (PILF 30(b)(6) (Adams) Dep. 222:11-

                   14; 223:11-17) and that, had PILF received a different answer from Mr. Cortés, “Alien II

                   wouldn’t have been published, more than likely, or it would have been published

                   differently.” (PILF 30(b)(6) (Adams) Dep. 225:14-17) (Exhibit 12).

                          f.     Exhibit 54 is a true and correct copy of the deposition transcript of Plaintiff

                   Eliud Bonilla (“Bonilla Dep.”). At his deposition, Plaintiff Eliud Bonilla agreed that it

                   would be “adequate due diligence” for PILF to ask Mr. Cortés whether the statewide

                   VERIS report was accurate. (Bonilla Dep. 91:22-92:6).



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                          g.      At his deposition, Mr. Cortés testified that the statewide VERIS report listed

                   people who had reported themselves as non-citizens and then failed to affirm their

                   citizenship within fourteen days (Cortés Dep. 210:9-16; 294:15-24) and that ELECT did

                   not provide “anything inaccurate or misleading” to PILF (Cortés Dep. 209:23-210:3). Mr.

                   Cortés further testified that his April 4, 2017 email to PILF “was a portion of a series of

                   back and forths about the data that was being sought and attempts to provide the

                   information that was being sought and correctly explain – what data was being provided”

                   (Cortés Dep. 236:1-15) (Exhibit 4).

                   14.    “Both Ms. Freeman and Plaintiff Eliud Bonilla were named in the Virginia

        VERIS Report.          Although Mr. Bonilla had re-affirmed his citizenship in 2012 (after

        cancellation of his registration), his name remained in the Virginia VERIS Report as of

        March 20, 2017.” (SUMF ¶ 14).

                          a.      See Virginia VERIS Report at 258 (Freeman). (Exhibit 45).

                          b.      At his deposition, Mr. Cortés testified that, according to the Virginia VERIS

                   Report, Ms. Freeman “had the registration cancelled on what appears to be August 12,

                   2015, as a result of indicating or self-reporting as non-citizen.” (Cortés Dep. 165:25-

                   166:10) (Exhibit 4).

                          c.      See Virginia VERIS Report at 100 (Bonilla). (Exhibit 45).

                          d.      At his deposition, Mr. Cortés testified that, according to the Virginia VERIS

                   Report, Mr. Bonilla’s “registration cancelled on May 3, 2012, subsequent to self-

                   identifying as a non-citizen.” (Cortés Dep. 166:20-167:3) (Exhibit 4).

                          e.      At his deposition, Mr. Bonilla confirmed that his name appears on the

                   Virginia VERIS Report and agreed that PILF should not have tampered with that public



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                   record. (Bonilla Dep. 109:20-110:2). Mr. Bonilla further testified that the Fairfax County

                   General Registrar had previously notified him that his voter registration had been cancelled

                   for being a declared non-citizen. (Bonilla Dep. 19:14-25; 20:7-22:2) (Exhibit 54).

                          f.      Exhibit 55 is a true and correct copy of a Fairfax County Office of Voter

                   Registration – Voter Registration Cancellation Notice dated May 3, 2012 stating that “[t]his

                   office has determined that ELIUD BONILLA (date of birth …) was declared a non-citizen

                   and is no longer entitled to be registered to vote.” (Bonilla Dep. Ex. 1).

                          g.      Exhibit 56 is a true and correct copy of a July 23, 2012 Facebook post in

                   which Mr. Bonilla stated that the Fairfax County Voter Registration Office determined him

                   to be a declared non-citizen. (Bonilla Dep. Ex. 3).

                          h.      Exhibit 57 is a July 26, 2012 email from Mr. Bonilla to Jaime Areizaga-

                   Soto, in which Mr. Bonilla stated that the records from the Fairfax County Board of

                   Elections “show that I stated I was NOT a citizen in a recent DMV transaction.” (Bonilla

                   Dep. Ex. 4).

                   15.    “Before Commissioner Cortés produced the Virginia VERIS Report, certain

        local registrars responded to PILF’s request for records showing registrants identified as

        potentially not satisfying citizenship requirements. Those responses included the Prince

        William Records, ‘Fairfax County Records’ and ‘York County Records’ (together, ‘County

        Records’).” (SUMF ¶ 15).

                          a.      See Prince William VERIS Report (Exhibit 1 to Declaration Exhibit 29)

                   and Prince William voter registration materials (Exhibit 7 to Declaration Exhibit 29) (the

                   “Prince William Records”).




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                          b.       A true and correct copy of voter registration records that PILF received from

                   Fairfax County on December 14, 2016 (the “Fairfax County Records”) are attached as

                   Exhibit 12 to Declaration Exhibit 59 below.

                          c.       See York County voter registration materials (Exhibits 32, 33, 34) (the

                   “York County Records”).

                   16.    “The Fairfax County Records included Mr. Bonilla’s voter registration. The

        York County Records included the application of plaintiff Abby Jo Gearhart (then known

        as Abby Sharpe Focht) and a Notice of Intent to Cancel Registration that she had been sent

        because she reported on a DMV form that she was not a citizen. Ms. Gearhart’s records

        were included even though she later reaffirmed her citizenship and was reinstated on the

        voter rolls.” (SUMF ¶ 16).

                          a.       A Fairfax County Office of Voter Registration – Voter Registration

                   Cancellation Notice dated May 3, 2012 stated that “[t]his office has determined that ELIUD

                   BONILLA (date of birth …) was declared a non-citizen and is no longer entitled to be

                   registered to vote.” (Bonilla Dep. Ex. 1) (Exhibit 55).

                          b.       Ms. Gearhart’s voter registration records were attached to three November

                   22, 2016 emails to PILF from Walt Latham, General Registrar of York County (Exhibits

                   32, 33, and 34).

                          c.       A February 2, 2017 email from Noel Johnson to Mr. Adams described

                   PILF’s efforts to obtain voter records from York County, Virginia. (George Dep. Ex. 19)

                   (Exhibit 37).




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                          d.     Exhibit 58 is a true and correct copy of the deposition transcript of Abby

                   Jo Gearhart (“Gearhart Dep.”). Ms. Gearhart testified that she previously went by the name

                   Abby Sharpe Focht. (Gearhart Dep. 17:17-18:1.)

                   17.    “In May 2017, PILF and VVA published Alien Invasion II: The Sequel to the

        Discovery and Cover-Up of Non-Citizen Registration and Voting in Virginia (‘AI-2’).” (SUMF

        ¶ 17).

                          a.     Exhibit 59 is a true and correct copy of “Alien Invasion II: The Sequel to

                   the Discovery and Cover-Up of Non-Citizen Registration and Voting in Virginia.”

                   18.    “The public records referenced in and attached to AI-2 included the Virginia

        VERIS Report, the County Records, the Cortés Email, and emails from certain local

        registrars. None of the plaintiffs is named in the body of AI-2. Ms. Freeman is referenced

        in the Virginia VERIS Report and Prince William Records. Mr. Bonilla is referenced in the

        Virginia VERIS Report and Fairfax County Records. The records for Ms. Freeman and Mr.

        Bonilla include the notations ‘Declared Non-Citizen’ or ‘cancelled – declared non-citizen.’

        Ms. Gearhart’s voter application was originally published in the exhibit containing the York

        County Records (and later removed). LULAC is not mentioned in AI-2 or its exhibits.”

        (SUMF ¶ 18).

                          a.     See generally 2d Rep. (Exhibit 59).

                          b.     See 2d Rep. at Ex 1, pp. 100, 286. (Exhibit 59).

                          c.     See 2d Rep. at Ex. 12, pp. 48, 96-97, and 831. (Exhibit 59).

                          d.     At her deposition as the Fed. R. Civ. P. 30(b)(6) representative of LULAC,

                   Ms. Seymour testified that the Reports do not mention anyone who is a member of LULAC

                   (LULAC 30(b)(6) (Seymour) Dep. 32:21-24; 96:8-10). Ms. Seymour is the only member



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                   of LULAC, and she is not mentioned in the body of or exhibits to the Reports. (LULAC

                   30(b)(6) (Seymour) Dep. 12:4-13; 96:3-7).

                   19.    “AI-2 stated that ‘it is a felony for a non-citizen to register and to cast a ballot,’

        listing the ‘offenses a fraudulent voter might commit when he registers and votes.’” (SUMF

        ¶ 19).

                          a.     See 2d Rep. at 3. (Exhibit 59).

                   20.    “The bulk of AI-2 expressed PILF’s opinions about “the serious problem that

        Governor McAuliffe and the Commonwealth’s unelected officials have refused to address

        and even tried to hide,” including that officials tried to resist producing voter records to

        PILF, and that, ‘[b]ased on voting history records, large numbers of ineligible aliens are

        registering to vote and casting ballots.’ AI-2 described persons identified in the exhibits as

        ‘potential felons,’ ‘suspected aliens,’ or as having ‘committed felonies.’ AI-2 stated that, for

        certain declared non-citizens whose voter registrations were included in Exhibit 12

        (including Ms. Gearhart’s), registering to vote ‘was as easy as checking ‘yes’ to the

        citizenship question.’” (SUMF ¶ 20).

                          a.     See 2d Rep. at 2-3. (Exhibit 59).

                          b.     See 2d Rep. at 6. (Exhibit 59).

                          c.     See 2d Rep. at 13. (Exhibit 59).

                   21.    “AI-2 also noted the possibility that registrants are being improperly removed

        from voter rolls as a result of a ‘scrivener’s error.’ AI-2 opined that this ‘alternative

        explanation’ would also be a ‘serious problem,’ as ‘[l]egitimate voters should not be removed

        from the rolls for not being citizens.’ In that regard, AI-2 explained the process for cancelling

        the registration of voters who had self-reported as a non-citizen, including their removal




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        from the voter rolls if they failed to return an Affirmation of U.S. Citizenship within the

        prescribed period.” (SUMF ¶ 21).

                          a.      See 2d Rep. at 10. (Exhibit 59).

                   22.    “AI-2 ended with a call to action and ‘recommendations and solutions,’

        including for law enforcement officials to prosecute cases of voter fraud after ‘verify[ing]

        whether or not the individual was a citizen at the time of registration or voting.’” (SUMF ¶

        22).

                          a.      See 2d Rep. at 16. (Exhibit 59).

                   23.    “Upon learning that certain local registrars erroneously provided voter

        registration applications for persons who previously declared non-citizenship but then either

        re-registered or remained on the rolls by affirming citizenship, PILF promptly removed

        those applications (including Ms. Gearhart’s) from Exhibit 12 to AI-2.” (SUMF ¶ 23).

                          a.      Exhibit 60 is a true and correct copy of a November 3, 2017 internal PILF

                   email reflecting the decision to remove 51 voter applications from Exhibit 12 to the Second

                   Report. (Johnson Dep. Ex. 29).

                          b.      Exhibit 61 is a true and correct copy of a screenshot of the exhibit list to

                   the Second Report as it appears on the PILF website. Next to Exhibit 12 is the term

                   “Revised” and an asterisk. An asterisk appearing at the bottom of the list states: “Exhibit

                   12 was updated after the discovery that some records were erroneously disclosed by the

                   Commonwealth of Virginia which reflected individuals incorrectly categorized in the

                   official voter registration archive as being ‘declared non-citizens.’ Those records were

                   removed.”

                   24.    “The day after publication of AI-2, Loyola Law School Professor Justin Levitt

        sent hundreds of emails to people identified in the exhibits trying to find individuals to help

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        ‘debunk’ the report. He coordinated his outreach with others in academia, the news media,

        and various interest groups – including Plaintiffs’ counsel, the Southern Coalition for Social

        Justice (‘SCSJ’) and the Protect Democracy Project (‘PDP’). From these communications,

        Professor Levitt discovered ‘many’ who registered to vote or voted in Virginia but were not

        citizens.” (SUMF ¶ 24).

                          a.      At his deposition, Professor Levitt testified that from 2015 until the day

                   before Inauguration Day 2017, he served as a Deputy Assistant Attorney in the Civil Rights

                   Division of the United States Department of Justice (Levitt Dep. 22:21-23:24). Professor

                   Levitt further testified that he and Mr. Adams “do not see eye to eye on some issues,” and

                   that while non-citizen voting does exist, “allegations of non-citizen voting are often

                   exaggerated” (Levitt Dep. 64:8-14). (Exhibit 5). See generally Declaration of Michael J.

                   Lockerby (Dkt. No. 130) and exhibits thereto filed in support of Defendants’ Motion to

                   Compel Production of Documents Withheld By Plaintiffs’ Counsel Relevant to Anti-

                   SLAPP and First Amendment Issues (Dkt. No. 129).

                          b.      Exhibit 62 is a true and correct copy of an email chain between Professor

                   Levitt and journalists from Slate in which Professor Levitt stated that “there is no love lost

                   between us,” when referring to Mr. Adams (Levitt Dep. Ex. 34).

                          c.      Exhibit 63 is a true and correct copy of a 562-page document containing

                   emails that Professor Levitt sent to voters listed in an exhibit to AI-2 (Levitt Dep. Ex. 27).

                          d.      Exhibit 64 is a true and correct copy of additional emails that Professor

                   Levitt sent to individuals listed in an exhibit to AI-2 (Levitt Dep. Ex. 28).




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                          e.      Exhibit 65 is a true and correct copy of a spreadsheet created by Professor

                   Levitt detailing his outreach efforts to individuals listed in an exhibit to AI-2 (Levitt Dep.

                   31).

                          f.      Exhibit 66 is a true and correct copy of a draft op-ed written by Professor

                   Levitt for the New York Times stating that the Presidential Advisory Commission on

                   Election Integrity to which Mr. Adams had been appointed is “designed to promote the

                   myth of voter fraud in order to suppress the vote,” while also claiming that Mr. Adams is

                   engaged in a “vigilante frenzy.” (Levitt Dep. Ex. 39). In a comment bubble regarding

                   individuals named in AI-2, Professor Levitt stated: “[T]hey weren’t all eligible. I know

                   some of them weren’t eligible. Indeed, some said they weren’t eligible; and I don’t know

                   how many of them were eligible. I just know some of them were eligible because I talked

                   to a few who were eligible.” (Levitt Dep. Ex. 40) (See Exhibit 75).

                   25.      “Before receiving a series of unsolicited emails from Professor Levitt, Ms.

        Freeman was not aware of AI-2 (although she was aware that Prince William County had

        previously cancelled her voter registration based on a declaration of non-citizenship). At

        Professor Levitt’s request, Ms. Freeman agreed to talk with attorneys at SCSJ, who helped

        her re-register to vote and secured her involvement in this litigation.” (SUMF ¶ 25).

                          a.      Exhibit 67 is a true and correct copy of the deposition transcript of Luciania

                   Freeman (“Freeman Dep.”). At her deposition, Ms. Freeman testified that she was not

                   aware that her name was listed in exhibits to the Reports until the matter was brought to

                   her attention by Professor Levitt. (Freeman Dep. 146:16-21).

                          b.      Exhibit 68 is a true and correct copy of emails from Professor Levitt to Ms.

                   Freeman dated May 30, 2017, June 26, 2017, July 18, 2017, July 19, 2017, August 14,



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                   2017, August 15, 2017, and August 16, 2017. (Freeman Dep. Ex. 4, 5, 6, 7, 8, 9, 10, 11,

                   12, 13). Identifying himself as a “law professor” doing research, Professor Levitt informed

                   Ms. Freeman that he is “looking into a report about voter registration . . . that mentions

                   you. I’m not writing because you’re in trouble. Indeed, there’s a fair amount in the report

                   that appears to be flatly incorrect . . . and I suspect that you may have been caught up in

                   that.” Before the receipt of Professor Levitt’s July 18, 2017 email, Ms. Freeman had not

                   previously been aware of the Reports and was “not interested in a conversation.” After

                   Professor Levitt sent Ms. Freeman three successive emails and links to the AI-2 exhibits,

                   however, she became “interested after seeing [her] name published!” (Exhibit 68 at F-

                   000231-34).

                          c.      Exhibit 69 is a true and correct copy of an email exchange between

                   Professor Levitt to Ms. Freeman. After offering to “help with that,” Professor Levitt

                   referred Ms. Freeman to Alesha Brown, an attorney at SCSJ. (Exhibit 69 at F-000109-

                   14).

                          d.      Exhibit 70 is a true and correct copy of an October 30, 2017 email exchange

                   between Ms. Freeman and SCSJ on the subject “Prince William County Office of

                   Elections.” (Freeman Dep. Ex. 14). Ms. Freeman re-registered to vote in Prince William

                   County in December 2017 (Freeman Dep. 25:21-26:12) (Exhibit 67).

                   26.     “Mr. Bonilla and Ms. Gearhart first became aware of AI-2 through

        unsolicited phone calls from an SCSJ intern who described PILF as ‘anti-immigrant,’ and

        claimed AI-2 contains ‘misinformation,’ had ‘racial implications,’ and caused

        ‘intimidation.’” (SUMF ¶ 26).




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                          a.      At his deposition, Mr. Bonilla testified that he had not heard from anyone

                   about the Reports before he heard from SCSJ (Bonilla Dep. 117:22-118) and that, in fact,

                   he had never even heard of the Reports until SCJS brought them to his attention (Bonilla

                   Dep. 105:12-17). (Exhibit 54).

                          b.      Exhibit 71 is a true and correct copy of an October 30, 2017 email to Mr.

                   Bonilla from Keren Salim, an intern at SCJS, in which she thanked Mr. Bonilla for

                   speaking with her earlier that day. Ms. Salim explained that she works for SCJS, an

                   organization that “works to protect the voting rights of people all over the South, and we

                   are reaching out to you because your personal information was listed in a report released

                   earlier this year by Public Interest Legal Foundation and Virginia Voter Alliance.” The

                   email stated that SCJS is “working with other groups to hold the authors of the report

                   accountable for the misinformation spread and the intimidation caused by the report’s

                   release,” and that SCJS “will keep you in the loop about any actions steps we take and you

                   can let us know if you’re interested in participating.” The email included hyperlinks to Mr.

                   Bonilla’s name in Exhibits 1 and 12 to AI-2. (Bonilla Dep. Ex. 10).

                          c.      Exhibit 72 is a true and correct copy of an October 30, 2017 email from

                   Mr. Bonilla to his wife, sent 10 minutes after receipt of the email from SCSJ, forwarding

                   the email from Ms. Salim and describing the authors of AI-2 as “an anti-immigrant

                   organization.” (Bonilla Dep. Ex. 11).

                          d.      Exhibit 73 is a true and correct copy of a November 3, 2017 email from

                   Ms. Salim arranging a meeting between Mr. Bonilla and Allison Riggs and stating: “We’re

                   particularly interested in talking with you because you seem to understand the racial

                   implications of this report.”



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                          e.      At her deposition, Ms. Gearhart testified that she did not hear of her name

                   appearing in the Reports until someone from SCSJ brought them to her attention in

                   November 2017 (Gearhart Dep. 51:11-22; 52:5-7). Ms. Gearhart further testified that she

                   did not look at AI-2 until the day before her March 15, 2019 deposition (Gearhart Dep.

                   53:4-8). (Exhibit 58).

                          f.      Exhibit 74 is a true and correct copy of a November 3, 2017 Facebook post

                   from Ms. Gearhart, in which she writes: “Just got a phone call from the southern Coalition

                   for social justice. Apparently I’m an illegal alien that’s registered to vote in VA. WHO

                   KNEW?! . . . Now you know it’s all bullshit, right? It was an effort to suppress the

                   democratic vote.” (Gearhart Dep. Ex. 15).

                   27.    “Despite these efforts by Professor Levitt and SCSJ, of the 5,556 individuals

        listed in the Virginia VERIS Report, only three were later determined to be citizens. All

        three were included the report due to an error on their part, error by a Virginia registrar,

        or both.” (SUMF ¶ 27).

                          a.      In a June 1, 2017 email exchange between Professor Levitt and U.S.

                   Department of Justice lawyer Cameron Bell, Professor Levitt expressed dismay that he has

                   not received responses to the emails that he sent to individuals named in Exhibit 12 to the

                   Second Report (Levitt Dep. Ex. 34) (Exhibit 62).

                          b.      Exhibit 75 is a true and correct copy of a draft op-ed for the New York

                   Times, in which Professor Levitt states in a comment bubble regarding individuals named

                   in the Second Report: “They weren’t all eligible. I know some of them weren’t eligible.

                   Indeed, some said they weren’t eligible; and I don’t know how many of them were eligible.




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                   I just know some of them were eligible because I talked to a few who were eligible.” (Levitt

                   Dep. Ex. 40).

                          c.       An April 2, 2015 DMV form signed by Plaintiff Luciania Freeman

                   contained a declaration under penalty of perjury that she was not a citizen of the United

                   States. (Freeman Dep. Ex. 1) (Exhibit 27). On July 22, 2015, the General Registrar of

                   Prince William County sent a Notice of Intent to Cancel Registration and an Affirmation

                   of U.S. Citizenship to Ms. Freeman and—after failing to receive a signed affirmation—

                   removed her from the Prince William County voter rolls. (Freeman Dep. Ex. 25) (Exhibit

                   28).

                          d.       Plaintiff Eliud Bonilla’s “registration cancelled on May 3, 2012, subsequent

                   to self-identifying as a non-citizen.” (Cortés Dep. 166:20-167:3) (Exhibit 4). See also

                   May 3, 2012 Fairfax County Office of Voter Registration – Voter Registration Cancellation

                   Notice (Bonilla Dep. Ex. 1) (Exhibit 55). Like Ms. Freeman, Mr. Bonilla had—in the

                   words of former Commissioner Cortés—“self-reported non-citizen status and failed to

                   complete an affirmation of citizenship in the allotted time frame.” (Gearhart Dep. Ex. 13)

                   (Exhibit 53). Before the publication of AI-2, Mr. Bonilla had affirmed his citizenship and

                   re-registered. Commissioner Cortés’ April 4, 2017 email stated that that “[i]f an individual

                   was previously cancelled and then subsequently affirmed citizenship and was re-registered,

                   they would no longer appear on this report because they would now be on active status” –

                   a statement that Mr. Cortés stood by at his April 10, 2019 deposition. (Cortés Dep. 169:3-

                   170:17) (Exhibit 4).

                          e.       On April 19, 2019, the current Commissioner of Elections, Christopher

                   Piper, testified that the preceding day, April 18, 2019, he had learned for the very first time



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                   about certain registrar errors that made Commissioner Cortés’ April 4, 2017 statement

                   incorrect with respect to at least two Virginia voters: Mr. Bonilla and Maureen Erickson.

                   Mr. Piper testified that that no one else could have reasonably known that at the time. (VA

                   DOE Rule 30(b)(6) (Piper) 189:22-190:25) (Exhibit 2).

                          f.      The Virginia VERIS Report identified Ms. Erickson as having had her

                   registration cancelled due to non-citizenship and listed her address in Guatemala. The

                   Virginia VERIS Report also shows, however, that she had registered in another jurisdiction

                   than that which had cancelled her registration. (Exhibit 45). Documents previously filed

                   with this Court contain statements by Commissioner Cortés, Professor Levitt, and reporters

                   that AI-2’s reference to Ms. Erickson showed that PILF and Mr. Adams were “sloppy” and

                   published “fake” and “fraudulent” reports. (Dkt. ##130, 130-44).

                   28.    “Ms. Freeman, Mr. Bonilla, and Ms. Gearhart suffered no reputational or

        pecuniary injury as a result of AI-1 or AI-2 (the “Reports”), nor received any medical or

        mental health treatment as a result of learning that their names appeared in the exhibits to

        the Reports.” (SUMF ¶ 28).

                          a.      At her deposition, Ms. Freeman testified that she has maintained her

                   employment as a student information assistant at Fairfax County Public Schools (Freeman

                   Dep. 14:3-15:12). Ms. Freeman further testified that she was not aware that her name was

                   identified in the Reports until the matter was brought to her attention by Professor Levitt

                   (Freeman Dep. 146:16-21) (Exhibit 67).

                          b.      At his deposition, Mr. Bonilla testified that he has maintained his

                   employment as a member of the senior professional staff at Johns Hopkins University

                   (Bonilla Dep. 18:11-16), that he hopes to run for public office in the future (Bonilla Dep.



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                   125:16-126:1), and that, with respect to his reputation, Mr. Bonilla had not heard of the

                   Reports until SCJS brought them to his attention (Bonilla Dep. 117:22-118:8). (Exhibit

                   54).

                          c.       At her deposition, Ms. Gearhart testified that she has maintained her

                   employment as a machine operator at Anheuser-Busch (Gearhart Dep. 10:10-11:5), and

                   that that she did not hear of her name appearing in the Reports until someone from SCSJ

                   brought the matter to her attention in November 2017 (Gearhart Dep. 52:5-7; 74:19-75:6).

                   (Exhibit 58).

                          d.       Exhibit 76 is a true and correct copy of Ms. Freeman’s Objections and

                   Responses to Defendants’ First Set of Interrogatories stating, in response to Interrogatory

                   No. 6, that she has not consulted any medical, psychiatric, or other health and wellness

                   professional(s) as a result of her name appearing in the public records appended to the First

                   and Second Reports. (Freeman Dep. Ex. 21).

                          e.       Exhibit 77 is a true and correct copy of Mr. Bonilla’s Objections and

                   Responses to Defendants’ First Set of Interrogatories stating, in response to Interrogatory

                   No. 6, that he has not consulted any medical, psychiatric, or other health and wellness

                   professional(s) as a result of his name appearing in the public records appended to the

                   Second Report. (Bonilla Dep. Ex. 18).

                          f.       Exhibit 78 is a true and correct copy of Ms. Gearhart’s Objections and

                   Responses to Defendants’ First Set of Interrogatories stating, in response to Interrogatory

                   No. 6, that she has not consulted any medical, psychiatric, or other health and wellness

                   professional(s) as a result of her name appearing in the public records appended to the

                   Second Report. (Gearhart Ex. 21).



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                   29.    “After publication of the Reports, Plaintiffs did not receive any direct threats

        intended to discourage them from voting or otherwise exercising their rights. Mr. Bonilla

        and Ms. Gearhart both continued to vote after discovering that their names in appeared in

        AI-2, and Ms. Freeman did not vote because she did not believe there were any opportunities

        to do so.” (SUMF ¶ 29).

                          a.       At her deposition, Ms. Freeman testified that she did not receive any threats

                   following the publication of the Second Report. (Freeman Dep. 123:9-20) (Exhibit 67).

                          b.       At his deposition, Mr. Bonilla testified that he and members of his family

                   have not been harassed or threatened following the publication of the Second Report

                   (Bonilla Dep. 127:1-8) and that he is not in possession of any documents discussing or

                   showing his fear that the Second Report will subject him to harassment, malicious

                   prosecution, physical harm or other repercussions. (Bonilla Dep. 152:18-153:2) (Exhibit

                   54).

                          c.       At her deposition, Ms. Gearhart testified that she has no reason to believe

                   that a polling official would use the Second Report to prevent her from voting. (Gearhart

                   Dep. 64:9-65:2) (Exhibit 58).

                          d.       In Mr. Bonilla’s Objections and Responses to Defendants’ First Set of

                   Interrogatories, Mr. Bonilla states in response to Interrogatory No. 2 that he voted in state

                   and local elections in Maryland in 2018. (Bonilla Dep. Ex. 18) (Exhibit 77).

                          e.       In Ms. Gearhart’s Objections and Responses to Defendants’ First Set of

                   Interrogatories, Ms. Gearhart states in response to Interrogatory No. 2 that she voted in the

                   2018 primary election and the 2018 November general election. (Gearhart Dep. Ex. 21)

                   (Exhibit 78).



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                          f.      At her deposition, Ms. Gearhart testified that she is political coordinator for

                   Teamsters Local 95 and Secretary for the New Kent County Democrats. (Gearhart Dep.

                   11:24-12:11) (Exhibit 58).

                          g.      At her deposition, Ms. Freeman testified that she re-registered to vote after

                   learning about the Reports (Freeman Dep. 133:12-20) and that she did not vote in any

                   elections following the publication of the Reports because she did not believe there was an

                   opportunity to do so. (Freeman Dep. 26:13-18) (Exhibit 67).

                   30.    “LULAC was not required to divert any monetary resources as a result of the

        Reports and has not expended any time or resources responding to them.” (SUMF ¶ 30).

                          a.      Exhibit 79 is a true and correct copy of the deposition transcript of Vilma

                   Seymour in her capacity as a Fed. R. Civ. P. 30(b)(6) representative of LULAC. Ms.

                   Seymour testified that LULAC did not spend money or make any public statements in

                   response to the Reports.     (LULAC 30(b)(6) (Seymour) Dep. 115:25-116:20).              Ms.

                   Seymour further testified that LULAC has expended time and resources responding to a

                   general “type of rhetoric . . . led by Donald Trump and his supporters,” but not to the PILF

                   reports specifically. (LULAC 30(b)(6) (Seymour) Dep. 102:23-109:1).




        Executed on June 14, 2019                _______________s/ Eli L. Evans_________
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